Case 9:19-bk-11573-MB             Doc 834 Filed 02/27/20 Entered 02/27/20 14:36:02           Desc
                                   Main Document    Page 1 of 24



1    MICHAEL McCONNELL
     Michael.McConnell@kellyhaNt.com
 2 201 Main Street, Suite 2500
     Fort Worth, Texas 76102
 3 ~ Telephone: (817) 878-3569
     Facsimile: (817) 878-9769
 4
     Chapter 11 Trustee
 5
     ERIC P. ISRAEL (State Bar No. 132426)
 6 eisrael@DanningGill.com
     AARON E. DE LEEST (State Bar No. 216832)
 7 adeleest@DanningGill.com
     DAMNING, GILL,ISRAEL & KRASNOFF,LLP
 8 1901 Avenue of the Stars, Suite 450
     Los Angeles, California 90067-6006
 9 Telephone: (310)277-0077
     Facsimile: (310)277-5735
10
     General Counsel for Michael A. McConnell,
1 1 Chapter 11 Trustee

12
                                  UNITED STATES BANKRUPTCY COURT
13
                                  CENTRAL DISTRICT OF CALIFORNIA
14
                                          NORTHERN DIVISION
15
     In re                                             Case No.: 9:19-bk-11573-MB
16
     HVI CAT CANYON,INC.,                              Chapter 11
17
                        Debtor.                        CHAPTER 11 TRUSTEE'S NOTICE OF
18                                                     APPLICATION AND APPLICATION TO
                                                       EMPLOY TENOAKS ENERGY
19                                                     PARTNERS,LLC AS HIS EXCLUSIVE
                                                       MARKETING AGENT IN CONNECTION
20                                                     WITH THE SALE OF OIL AND GAS
                                                       INTERESTS AND RELATED ASSETS;
21                                                     AND STATEMENT OF
                                                       DISINTERESTEDNESS
22
                                                           fNo Hearing Requiredl
23
     TO THE HONORABLE MARTIN R. BARASH,UNITED STATES BANKRUPTCY
24
     JUDGE,AND INTERESTED PARTIES:
25
             PLEASE TAKE NOTICE THAT Michael A. McConnell, the Chapter 11 trustee (the
26
     "Trustee" or "applicant") of the cstatc of HVI Cat Canyon, Inc.(the "debtor"), «gill and hereby does
27
     move the Court for an order authorizing him to employ TenOaks Energy Partners, LLC
28

      1577901.1 26932                                  1
Case 9:19-bk-11573-MB            Doc 834 Filed 02/27/20 Entered 02/27/20 14:36:02                   Desc
                                  Main Document    Page 2 of 24



     ("TenOaks") as his exclusive marketing agent and advisor in connection with the sale of the

2 estate's oil and gas interests and related assets (the "application").

             The application is based upon this notice of application, the attached Statement of

4 Disinterestedness, the complete files and records of this case, and such other evidentiary matters as

5 may be presented to the Court.

6            PLEASE TAKE FURTHER NOTICE that, pursuant to Local Bankruptcy Rule 9013

7 1(0)(1)(A)(ii), any objection and request for hearing must be in writing and must be filed and

8 served within fourteen (14) days after of the date of mailing of this notice, plus an additional 3 days

9 if this notice of motion was served by mail or pursuant to Fed. R. Civ. P. 5(b)(2)(D) or (F). The

10 response or opposition to the application shall be filed with the Bankruptcy Court and served on the

     United States Trustee, at 1415 State Street, Suite 148, Santa Barbara, CA 93101, and counsel for

12 the Trustee, Aaron E. de Leest, at 1901 Avenue of the Stars, Suite 450, Los Angeles, CA 90067.              ~

13            If you fail to file a written response within fourteen days of the date of the service of this

14 notice, plus an additional3 days if this notice of motion was served by mail or pursuant to Fed. R.

15 Civ. P. 5(b)(2)(D) or (F), the Court may treat such failure as a waiver of your right to oppose the

16 application and may grant the requested relief.

17

18 DATED: February _,2020                          DAMNING, GILL,ISRAEL & KRASNOFF,LLP

19

20                                                 By:
21                                                       AARON E. DE LEEST
                                                         Attorneys for Michael A. McConnell,
~~                                                       Chapter 11 Trustee
23                        .~.
24 MAILING DATE: February ~~~020

25

26

27



      1577901.1 26932                                     2
 Case 9:19-bk-11573-MB          Doc 834 Filed 02/27/20 Entered 02/27/20 14:36:02                  Desc
                                 Main Document    Page 3 of 24



 1                                              APPLICATION

2            Michael A. McConnell, the Chapter 11 trustee (the "Trustee" or "applicant") for the estate

3 of HVI Cat Canyon, Inc.(the "debtor"), hereby applies for authority to employ, under 11 U.S.C. §

4 327(a), TenOaks Energy Parrilers, LLC ("TenOaks") as his exclusive marketing agent and advisor

5 in connection with the sale of the estate's oil and gas interests and related assets, and approve the

6 proposed engagement agreement as follows:

7

8 A.         The Bankruntcv Filing

9            On July 25, 2019 (the "Petition Date"), the debtor commenced this case by filing a voluntary

10 petition for relief under Chapter 11 of title 11 of the United States Code (the "Bankruptcy Code").

11   The case was originally filed in the Southern District of New York. The case was transferred to the

12 Northern District of Texas, and then later to the Central District of California.

13           The debtor initially operated its business as a "debtor in possession," allowing it to exercise

14 substantially all rights of a trustee in the bankruptcy case. On or about October 16, 2019, the Court

15 entered its Agreed Order Granting Motionfor Appointment ofa Chapter 11 Trustee. On or about

16 October 21, 2019, the U.S. Trustee appointed Michael A. McConnell as the Chapter 11 Trustee for

17 the debtor's estate. On or about October 22, 2019, the Court entered an order approving the

18 appointment of Michael A. McConnell as the Chapter 11 trustee in this case.

19           The debtor is a Colorado corporation authorized to conduct business in the State of

20 California. It is the owner and operator of producing oil and gas interests in California. According

21 to the debtor, it "owns an approximately 100% working interest and an average 85%net revenue

22 interest in over 1,000 oil wells in the ~a.nta Maria Valley of Santa Barbara County, North Belridge

23 in Kern County, and Richfield East Dome Unit in Orange County."1 The debtor employs

24 approximately 50 individuals.

25           The assets of the estate include the debtor's oil and gas interests and related assets,

26 including, without limitation, mineral rights, marketing agreements, contract rights, producing

27
     ~ Docket no. 16, pp. 1-2, ¶ 2.
28

      1577901.1 26932                                    3
Case 9:19-bk-11573-MB            Doc 834 Filed 02/27/20 Entered 02/27/20 14:36:02                 Desc
                                  Main Document    Page 4 of 24



 1   wells, permitted production facilities, pipelines, gathering systems, and processing and treatment

2 plants associated therewith (collectively, the "Properties").

3             As set forth below, by this application, applicant seeks to employ TenOaks as his exclusive

4 marketing agent and advisor in connection with the sale of the Properties.

5

6 B.          The Proposed Engagement and Scone of Services

7             Applicant believes it will be necessary, in his business judgment, to sell the Properties in

8 order to comply with and discharge his duties as trustee. Applicant has determined that the best

9 way to market and sell the Properties is with the assistance of TenOaks, a firm with extensive

10 experience in the sale of oil and gas assets. Its breadth of experience is described in its resume, a

1 1 copy of which is attached as Exhibit "1" to the Statement of Disinterestedness, filed with this

12 application and incorporated herein.

13            TenOaks was founded in in January 2015 to provide independent divestiture advisory

14 services to oil and gas companies in the upstream, midstream, and oil field services sector across the

15 continental United States. The principals of TenOaks have over 50 years of combined energy

16 investment and commercial banking experience and have closed over 100 transactions with

17 aggregate consideration exceeding $6 billion. TenOaks has extensive experience selling and

18 marketing oil and gas assets and maintains a diverse contact database to ensure broad distribution to

19 the appropriate contacts of qualified buyers. In addition, TenOaks provides a comprehensive online

20 data room that identifies, captures, and markets the upside story of an asset to ultimately maximize

21 value.

~2             TenOaks will render services to applicant upon the terms set forth in this application and the

23 letter agreement attached as Exhibit "2" hereto and incorporated herein (the "Agreement"). Those

24 services include: acting as the exclusive agent for the Trustee with respect to the sale of the

25 Properties; advising and assisting the Trustee in developing a strategy for the sale of the Properties;

26 preparing marketing materials and electronic information in connection with the sale; assisting with

27 presentations to and negotiations with prospective purchasers; and rendering such other services

28 reasonably associated with the sale.

      1 577901.1 26932
Case 9:19-bk-11573-MB                  Doc 834 Filed 02/27/20 Entered 02/27/20 14:36:02              Desc
                                        Main Document    Page 5 of 24



                Applicant seeks to employ TenOaks pursuant to 11 U.S.C. § 327, and approval of its

2 ~ compensation and reimbursement of its expenses, as described below, pursuant to 11 U.S.C. § 328.

3

4 C.            The Proposed Compensation

5               Applicant proposes to compensate TenOaks on the terms set forth in the Agreement.

6 Without limiting the terms thereof, the Agreement provides that, in the event of a Court approved

7 closing of a sale/transaction and receipt by the Trustee of the consideration from such a

       sale/transaction, TenOaks will receive a success fee.

 r'.            The Agreement provides as follows with respect to the success fee (the definitions are as set

10 forth in the Agreement):

11                                  Success Fee. In the event the Trustee, or the Company
                           (excluding UBS), enters into definitive documentation calling for one
12                          or more Transactions during the Primary Term (hereinafter defined)
                            or Tail (hereinafter defined) of this Agreement, then upon the closing
13                          of, and the receipt of the Aggregate Consideration (hereinafter
                            defined) payable pursuant to, each such Transaction, subject to
14                          Bankruptcy Court approval of this Agreement, the Trustee will pay or
                            cause Advisor to be paid a cash "Success Fee." The Success Fee for
15                          the Transactions) will be equal to the greater of:(i)$400,000(four
                            hundred thousand dollars), the "Minimum Success Floor"), and (ii)
16                          2.0%(two percent) of that portion of the Aggregate Consideration
                            payable pursuant to the Transactions)that is up to and including
17                          $40,000,000, 2.5%(two and one half percent) of that portion ofthe
                            Aggregate Consideration payable pursuant to the Transactions)that
18                          is greater than $40,000,000 but less than $60,000,000, or 3.0% (three
                            percent) of that portion ofthe Aggregate Consideration payable
19                          pursuant to the Transactions) that is greater than $60,000,000.

20              In addition to the success fees that may be payable to TenOaks under the Agreement, the

21 Agreement also provides that the Trustee will also pay TenOaks afully-earned and non-refundable
?~ upfront expense fee of$1 OQ,~QO (one hundred thousand dollars) to cover any expenses incurred by

23 TenOaks in connection with its engagement and payable in four monthly $25,000 installments

24 beginning on the date of the Agreement and continuing in four consecutive months. Such expenses

25 shall not exceed $100,000 in the aggregate without the Trustee's prior written approval. The

26 current carve-out and cash-collateral budget approved by the Court on an interim basis includes

27 those installments. See Docket no. 799, Exhibit "2", line 32.

28

        1 577901.1 26932                                      5
Case 9:19-bk-11573-MB             Doc 834 Filed 02/27/20 Entered 02/27/20 14:36:02               Desc
                                   Main Document    Page 6 of 24



 1           The Trustee, in his professional business judgment, believes that the success fee and

2 deposit requested by TenOaks are reasonable.

3

4 D.         Disinterestedness

5            As of the date of the application, to the best of applicant's knowledge and after

6 consideration of the disclosures in the attached Statement of Disinterestedness, applicant believes

7 that TenOaks and all of its partners, employees and/or associates are disinterested persons as that

8 term is defined in section 101(14) of the Bankruptcy Code, and neither TenOaks nor any partners,

9 employees or associates are connected with applicant, the debtor, debtor's creditors, any other party

10 in interest, their respective attorneys and accountants, or to this estate, and have no relation to any

11   bankruptcy judge presiding in this district, the Clerk of the Court or any relation to the United State

12 Trustee in this district, or any person employed at the Court or the Office of the United States

13 Trustee, nor does TenOaks represent or hold an adverse interest with respect to the debtor, any

14 creditor, or to this estate.

15           To check and clear conflicts, and in preparing the Statement of Disinterestedness, TenOaks

16 utilized a set of procedures that it has developed to ensure compliance with the requirements of the

17 Bankruptcy Code and the Bankruptcy Rules regarding the retention of professionals in chapter 11

18 cases. TenOaks' conflicts check resulted in no conflicts that would prevent TenOaks from

19 operating as a "disinterested party" as defined in section 101(14) of the Bankruptcy Code. If

20 TenOaks subsequently discovers information that requires disclosure of potential conflicts or

21 connections, TenOaks will file a supplemental disclosure with the Court. Moreover, TenOaks has

22 not entered into any agreements to share compensation as may be awarded to it for services

23 rendered in this case, except as permitted under section 504(b) of the Bankruptcy Code.

24

25 G.         Prayer

26            WHEREFORE,applicant prays for entry of an order authorizing him to employ 1'enUaks,

27 the Trustee's exclusive marketing agent and advisor in connection with the sale of the estate's oil

28 and gas interests and related assets under 11 U.S.C. §§ 327 and 328, approve the Agreement

     1 577901.1 26932
Case 9:19-bk-11573-MB                  Doc 834 Filed 02/27/20 Entered 02/27/20 14:36:02                                                                Desc
                                        Main Document    Page 7 of 24



                                                                                                                                                    ~+G.'   .fil ,f!
                                               Ja       € .. 0   ~ ~ ,u       , •ti   kiU,"' i .•   Jim lnr r .   ,N;   R.;~.. ~ ; ~ ;; • ; ,••~j
           .~t ..~►:t .1.   ~t~tl ~P    .,1'        k




                                       ~'




 t~                                                                       c           ~~ ~,


 ~ t~
 ~a
~ ~y
  3/
     r




      4.
      i'
      c~
~~

      i

~~ '
      i

l~



 9~



IGj
 ~~'
 ~~
l9'
 2~
 2I'
 ~'
 23j
 2~


 -~~
           P
 ~~,
 2~`'.
Case 9:19-bk-11573-MB              Doc 834 Filed 02/27/20 Entered 02/27/20 14:36:02             Desc
                                    Main Document    Page 8 of 24



                        STATEMENT OF DISINTERESTEDNESS FOR EMPLOYMENT
                            OF PROFESSIONAL PERSON UNDrR F.R.B.P. 2014
2
3          1.     Name,address and telephone number ofthe professional("the Professional" or "the
     "Firm")submitting this Statement:
4
                        TenOaks Energy Partners, LLC("TenOaks")
5                       14180 N. Dallas Parkway, Suite 700
6                       Dallas, Texas 75254
                        Tel: 214-420-2320
 7
                        Attached hereto as Exhibit"1" and incorporated by reference herein, is a copy ofthe
8 Firm's bio.
9           2.      The services to be rendered by the Professional in this case are (specify): See page 4
    of the within the Application.
10
            3.      The terms and source of the proposed compensation and reimbursement ofthe
1 1 Professional are (specify): See page 5 of the within Application and Exhibit "2."
12          4.      The nature and terms of retainer (i.e., nonrefundable versus an advance against fees)
13   held by the Professional are (specify):

14            The Trustee will pay TenOaks afully-earned and non-refundable upfront expense fee of
              $100,000(one hundred thousand dollars) to cover any expenses incurred by TenOaks in
15            connection with its engagement and payable in four monthly $25,000 installments
              beginning on the date of the Agreement and continuing in four consecutive months.
16         5.       The investigation of disinterestedness made by the Professional prior to submitting
        Statement consisted of(specify): Conflicts check of 201argest creditors and parties who have
17 this
   appeared in the case.
18         6.       The following is a complete description of all of the Professional's connections with
       debtor, principals ofthe debtor, insiders, the debtor's creditors, any other party or parties in
19 the
   interest, and their respective attorneys and accountants, the United States Trustee or any person
             d in the Office of the United States Trustee (specify, attaching extra pages as necessary):
20 employe
           None
21
           7.       The Professional is not a creditor, an equity security holder or an insider of the
22 debtor, except as follows (specify, attaching extra pages as necessary):
23            None
24         8.      The Professional is not and was not, within two(2) years before the date of the
    iling ofthe petition herein, a director, officer or employee of the debtor.
25 f
           9.      The Professional neither holds nor represents any interest materially adverse to the
26 interest ofthe estate or of any class of creditors or equity security holders, by reason of any direct
      indirect relationship to, connection with, or interest in, the debtor, or for any other reason, except
27 or
   as follows (specify, attaching extra pages as necessary):
28            None.
      1577901.1 26932
Case 9:19-bk-11573-MB                Doc 834 Filed 02/27/20 Entered 02/27/20 14:36:02            Desc
                                      Main Document    Page 9 of 24




 1              10.    Name, address and telephone number of the person signing this Statement on behalf
        of the Professional and the relationship ofsuch person to the Professional(specify):
 2 '~
                            Lindsay Sherrer,Partner
 3                          TenOaks Energy Partners,LLC
                            14180 N. Dallas Parkway, Suite 700
 4~                         Dallas, Texas 75254
 5                          Tel:214-420-2320

 6            1 1.   The Professional is not a relative or employee of the United States Trustee or a
        Bankruptcy Judge, except as follows(specify,attaching extra pages as necessary):
 7
                            None
 8
                 12.        Total number of attached pages of supporting documentation:
 9
             13.    After conducting or supervising the investigation described in Paragraph 5 above,I
10  declare  under penalty of perjury under the laws of the United States of America,that the foregoing
    is true and correct except that I declare that Paragraphs 6 through 11 are stated on information and
1 1 belief.

12               Executed on February ?2 , 2020,at Dallas, Texas.

13

14

15                                                        nd a    herrer

16

 17

 18

 19

2U

21

22

23

24

 25

 2C

 27

 28

         1 577901.1 26932                                    9
Case 9:19-bk-11573-MB   Doc 834 Filed 02/27/20 Entered 02/27/20 14:36:02   Desc
                        Main Document     Page 10 of 24




                              EXHIBIT "1"
Case 9:19-bk-11573-MB         Doc 834 Filed 02/27/20 Entered 02/27/20 14:36:02                   Desc
                              Main Document     Page 11 of 24



                                     EN ~AK.S
                                    E N[RC~Y     ADVI ti ORS


Overview:
   ■    TenOaks Energy Advisors, LLC ("TenOaks") was founded in January 2015 by Lindsay
        Sherrer, Jason Webb, and B.J. Brandenberger
   ■    Superior Technical team led by Jeevak Mattamana, Partner of Engineering.
   •    Focused on providing energy companies with independent, best-in-class divestiture and
        advisory services
   ■    70 years of combined energy investment banking and energy commercial banking
        experience
   ■    Aggregate transaction experience exceeds $7 billion across >120 asset divestiture /
        financial advisory transactions since 2008 (including time at Energy Spectrum) with
        multiple repeat clients and carefully plan each engagement
   ■    Track record of operated conventional assets sales and consistently in market with deals
        gaining real time buyer knowledge


Leadership Bios:
   ■    Lindsay Sherrer —Partner

        Lindsay has spent 18 years working in the oil and gas industry, including upstream
        energy, midstream, and oilfield service. He has originated and executed transactions for
        publicly-traded, sponsor-owned, and privately-owned middle market companies in a
        variety of U.S. oil and gas basins. Projects include acquisitions, divestitures, equity/debt
        financings, and production payments. Lindsay is a founding partner of TenOaks Energy
        Advisors, LLC (TenOaks). Prior to TenOaks, Lindsay served as a Senior Vice-President
        and Principal of Energy Spectrum Advisors (ESA) with a primary focus on upstream and
        oilfield services divestitures. Prior to ESA, Lindsay served as the head of the Oklahoma
        City Energy Banking Group for BOK Financial and served in various banking roles for
        both Tulsa and the Appalachian regions. Lindsay was astudent-athlete at Oklahoma
        State University and earned his BS and MBA from the Spears School of Business and
        graduated as the top MBA student of the class of 2001. He holds the Series 24, 79, 62,
        and 63 licenses.
    ■   B.J. Brandenberger —Partner
        BJ has spent 15 years working in oil and gas investment banking with a concentration on
        the upstream and midstream energy sectors. He has originated and/or executed over
        $4.5 billion in transactions for publicly-traded, sponsor-owned, and privately-owned
        lower middle market companies in a variety of U.S. oil and gas basins. BJ is a founding
        partner of TenOaks. Prior to TenOaks, BJ served as Vice President of Energy Spectrum
        Advisors with a primary focus on upstream and midstream acquisitions, divestitures,
        equity/debt financings, and valuation opinions. His A&D engagements have spanned the
Case 9:19-bk-11573-MB         Doc 834 Filed 02/27/20 Entered 02/27/20 14:36:02                  Desc
                              Main Document     Page 12 of 24




        U.S. and included operated, non-operated, royalty, and mineral divestitures. In 2014,
        Mr. Brandenberger was recognized as one of the "Top 20 under 40 in A&D" by Oil &Gas
        I nvestor Magazine. Mr. Brandenberger earned his BBA in Finance with high honors
        from the University of Texas in Arlington, where he also played NCAA Division
        baseball. Mr. Brandenberger is a member of various industry groups including the
        Dallas Wildcat Committee, Independent Petroleum Association of America, and the
        ADAM Energy Forum. He holds the Series 24, 79 and 63 licenses.
   ■    Jason B. Webb —Partner
        Jason has over 17 years as an advisor in oil and gas energy finance and investment
        banking, helping capitalize public and private oil &gas companies including upstream
        and midstream entities. He has facilitated debt transactions for publicly-traded, sponsor-
        owned, and privately-held companies across multiple U.S. oil and gas basins. His A&D
        engagements have spanned the U.S. and included operated, non-operated, royalty, and
        mineral divestitures. Jason is a founding partner of TenOaks. Prior to TenOaks, he
        served as a Vice President of Energy Spectrum Advisors with a primary focus on
        upstream divestitures. Prior to Energy Spectrum, Jason served in various energy
        banking roles with Bank of Oklahoma. Jason earned a B.S. in Finance from Oklahoma
        State University. He is a member in IPAA and the ADAM Energy Forum and holds the
        Series 24, 79, 62, and 63 licenses.
   ■    Jeevak Mattamana —Partner, Engineering
        Jeevak joined TenOaks in July of 2015. Prior to joining TenOaks, Jeevak worked for
        Apache Corporation dating back to 2007. Jeevak held multiple petroleum engineering
        roles within Apache including reservoir, production, and drilling engineering experiences
        in multiple basins. Most recently, Jeevak worked with Apache's Mid-Continent team
        generating conventional and unconventional prospects and analyzing acquisition targets
        in the Cherokee, Cottage Grove, Marmaton Lime, Tonkawa, and Woodford Shale
        formations. Prior to his work in Apache's Mid-Continent group, Jeevak was active in
        various groups including time in Midland working with the Apache Permian team where
        he drilled multiple wells and implemented various recompletion projects. Jeevak also
        worked in the Apache Corporate Engineering Group establishing reserve evaluations for
        internal budgeting, external auditing, and SEC reporting purposes. Jeevak earned a B.S.
        in Petroleum Engineering from the Colorado School of Mines.
    ■   David Carter —Managing Director (RedOaks)

        David has spent 10 years working in the oil and gas industry primarily focusing on debt
        capitalization of oil and gas companies. David is the Managing Director of RedOaks
        Energy Advisors, LLC ("RedOaks"). Prior to joining RedOaks, he served as Senior Vice
        President —Energy Finance at LegacyTexas Bank ("LTB"). At LTB, he focused on
        facilitating debt financing for both E&P and midstream oil and gas companies. His clients
        included publicly traded and privately held organizations that covered multiple U.S. oil
        and gas basins. He earned a B.S. in Finance from the University of Oklahoma and a MS
        in Accounting from the University of Virginia.
Case 9:19-bk-11573-MB   Doc 834 Filed 02/27/20 Entered 02/27/20 14:36:02   Desc
                        Main Document     Page 13 of 24




                              EXHIBIT "2"
Case 9:19-bk-11573-MB            Doc 834 Filed 02/27/20 Entered 02/27/20 14:36:02                        Desc
                                 Main Document     Page 14 of 24



                                                     t~!~t~ ,


                                                       „
                                                       /" Y~
                                                       -=:~=
                                                             ~
                                                       ~~

February 27, 2020

HVI Cat Canyon, Inc.
2601 Skyview Drive.
Santa Maria, CA 93455
Attention: Michael McConnell, Trustee

The purpose of this letter (including, without l imitation, the exhibits and attachments hereto,
collectively, this "Agreement") is to confirm the exclusive engagement of TenOaks Energy Partners, LLC
("Advisor") by Michael A. McConnell, solely in his capacity as the Chapter 11 trustee (the "Trustee") for
 HVI Cat Canyon, Inc., currently a debtor under Chapter 11 of Title 11 of the United States Code (the
"Bankruptcy Code") in In re HVI Cat Canyon, Inc. (individually, the "Company"), et al., Bankruptcy
 Case Number 9:19-bk-11573-MB, et seq. (the "Bankruptcy Case") pending in the United States
 Bankruptcy Court for the Central District of California (Northern Division)(the "Bankruptcy Court"), to
                                                                                                          of
 assist in facilitating one or more transactions resulting in the direct or indirect sale or monetization
 a l l or a portion of the Company's oi l and gas interests and related  assets (including,  without
 l imitation, leaseholds, marketing agreements, contract rights, producing wells, production
facilities, pipelines, gathering systems, and processing and treatment plants associated
 t herewith) described in Exhibit A to this Agreement (collectively, the "Properties") whether by sale,
 lease, farm out, joint venture, re-capitalization or any other transaction (excluding any
 a bandonment of assets by the Trustee) (each such event being a "Transaction"). The parties
 a cknowledge that the intent of this Agreement is to cover transactions involving a change in
 o wnership of, or control over, the Properties or any part thereof or material interest therein, and
 t he foregoing definitions shall be broadly construed consistent with this intent. Advisor and the
 Company may be referred to herein individually as a "Party" or collectively as the "Parties."

         1.       Advisor Obligations, Nature of Services. Advisor and the Company agree that Advisor shal l
perform the following transaction -related services (the "Facilitating Services")during the Primary Term
(hereinafter defined) of this Agreement.

                   (a)   Advisor wil l serve as the exclusive agent to the Company for the
 Transaction(s).

                 (b)      Advisor will familiarize itself to the extent it deems appropriate and feasible
                                                                                                      rely
 with the Properties, it being understood that Advisor shall, in the course of such familiarization,
 e ntirely upon information supplied by the Company       and  its agents without independent
 i nvestigation.

                (C)      Advisor will advise and assist the Company in and developing a strategy for
 a ccomplishing the Transaction(s ), including the possible terms and conditions of the Transaction(s).

                  (d)    Advisor will work with the Company to prepare marketing materials and
 electronic information, as necessary in connection with the Transactions) and Advisor's
 services. Before distribution to prospective counterparties, Advisor shal l deliver or make
 a vailable to the Company a copy of all marketing materials and other written information to be
 d elivered or made available to prospective counterparties, with the expectation that the Company
Case 9:19-bk-11573-MB            Doc 834 Filed 02/27/20 Entered 02/27/20 14:36:02                        Desc
                                 Main Document     Page 15 of 24




will review such marketing materials and other information for accuracy and completeness and
a pprove same for delivery to prospective counterparties.

             (e)      Advisor wil l make itself available to assist the Company in connection with
the Company's presentations to and negotiations with prospective counterparties.

              (f)     Advisor wi l l render such other services reasonably associated with the
Transactions) as may from time to time be agreed upon by the Parties, subject to the remainder
h ereof.

         2.      Nature of the Facilitating Services. The Parties agree that in providing the Facilitating
Services,  Advisor is acting pursuant to a contractual relationship entered into on an arm's length
basis and not as a fiduciary or financial advisor. In no event do the Parties intend for Advisor, in
connection with the Facilitating Services or the Transaction(s), to act or be responsible as a fiduciary to
the Trustee or any of its affiliates or any of their respective subsidiaries, owners, investors, creditors,
officers, directors or employees with respect to any action taken before or after the date of this
l etter and Advisor disclaims any fiduciary or similar obligation to any such person in connection
therewith. Any review by Advisor of information or transaction -related documentation, including
i nformation to be provided to third parties on behalf of the Trustee, shall be solely for the benefit
of Advisor and shall not be on behalf of the Company or any third party. The Trustee shall be solely
responsible for making his own independent judgments with respect to the Transactions) and the
terms thereof in reliance upon its own legal counsel and/or other professionals other than Advisor.
Without l imiting the generality of the foregoing, Advisor is not advising the Trustee or any other
person as to legal, accounting or regulatory matters in any jurisdiction, nor will it be responsible for
d ue diligence for or providing factual bases for reliance by any person associated with the
Transaction(s). The Facilitating Services are being provided to and for the exclusive benefit of the
Company, and no benefit is intended to be conferred upon any third party.

        3.      Certain Trustee Obligations. The Trustee covenants as follows:

                (a)      It is understood that the Trustee is a third party fiduciary appointed to
a dminister the affairs of the Company. The Trustee has l imited personal knowledge of the
Properties and obligations of the Company. Any sale will be (i) "as is" and "where is" with no
representation or warrantee by the Trustee, unless expressly provided otherwise in a writing signed
b y the Trustee and approved by the Bankruptcy Court and (ii) conditioned on approval by the
Bankruptcy Court and the Company's provider of post-petition financing. It is also understood that
M ichael A. McConnell is a party to this agreement solely in his capacity as trustee and not
 personally.

                (b)     The Trustee shall be responsible to the best of his information and belief,
for assuring that oral and written information presented by the Trustee to Advisor or any
prospective counterparty, including al l marketing materials prepared by or with the assistance of
Advisor, is complete and will not contain any untrue statement of a material fact or omit to state a
m aterial fact necessary to make such information not misleading.

                  (c)      The Trustee shall assure to the best of his information and belief, that
 d elivery of oral and  written information by the Trustee to Advisor or any prospective counterparty,
 a nd any  offering  of securities uti l ized by the Trustee in connection with the Transaction(s), is in
 compliance with the Bankruptcy Code and the Company's contractual and legal obligations.

                 (d)     The Trustee shall be responsible to tf~e best of his information and belief, for
 u pdating, to the extent required by applicable law or contractual obligations, the oral and written
Case 9:19-bk-11573-MB             Doc 834 Filed 02/27/20 Entered 02/27/20 14:36:02                         Desc
                                  Main Document     Page 16 of 24




information regarding the Company or the Properties provided to prospective counterparties by
the Trustee or Advisor.

                (e)       The Trustee shall cooperate with Advisor in connection with Advisor's
provision of the Facilitating Services, making its personnel, properties and information reasonably
a vailable. Without l imiting the obligation of cooperation, the Trustee will refer any prospective
counterparties to the Transactions) to Advisor and will not seek, directly or indirectly, to avoid its
o bligations under this Agreement.

             (f)     The Trustee shal l be responsible for providing a Purchase and Sale
Agreement with appropriate completed exhibits in connection with any Transaction.

         4        Success Fee. In the event the Trustee, or the Company (excluding UBS), enters into
d efinitive documentation cal l ing for one or more Transactions during the Primary Term (hereinafter
d efined) or Tail (hereinafter defined) of this Agreement, then upon the closing of, and the receipt of
the Aggregate Consideration (hereinafter defined) payable pursuant to, each such Transaction, subject
to Bankruptcy Court approval of this Agreement, the Trustee wi l l pay or cause Advisor to be paid a
cash "Success Fee." The Success Fee for the Transactions) wi l l be equal to the greater of: (i)
$400,000 (four hundred thousand dollars), the "Minimum Success Floor"), and (ii) 2.0%(two percent) of
that portion of the Aggregate Consideration payable pursuant to the Transactions) that is up to and including
$40,000,000, 2.5%(two and one half percent) of that portion of the Aggregate Consideration payable pursuant to
the Transactions) that is greater than $40,000,000 but less than $60,000,000, or 3.0%(three percent) of that
portion of the Aggregate Consideration payable pursuant to the Transactions) that is greater than $60,000,000.

                 (a)      If multiple Transactions are consummated or contracted for, subject to
Bankruptcy Court approval of this Agreement, the Success Fee payable upon the closing of the first
Transaction (and receipt of the Aggregate Consideration with respect to such Transaction) will be the
greater of the Minimum Success Floor or the fee called for by clause (ii) above solely with respect to
such Transaction. If the Minimum Success Floor has been paid to Advisor for the first closed
Transaction and such Minimum Success Floor is in excess of the fee that would have been calculated in
(ii) above, then the difference between the Minimum Success Floor and the fee that would have been
calculated in (ii) above for the first Transaction will be applied as a credit against the Success Fees)
d ue for subsequently closed Transactions until fully applied. For the purposes of clarity, the Success
Fee for all Transactions resulting in a Success Fee' under this Agreement shall be the amount
calculated in the preceding paragraph, as if the Aggregate Consideration in each Transaction were
aggregated and all such Transactions treated as a single transaction.

                (b)      Each Success Fee is calculated and due and payable in cash to Advisor, subject
 to Bankruptcy Court approval of this Agreement, upon the Trustee's receipt of consideration or
 proceeds actually received, in connection with the Transaction(s). Success Fees shall be paid by
 wire transfer to Advisor in accordance with its written instructions to the Trustee.

                (C)       For the purpose of calculating the Success Fee, the term "Aggregate
 Consideration" from a Transaction shall be defined as the total valuable consideration received by
 the Company, directly or indirectly (including payments made to equity interest holders or the
 payment or the assumption or satisfaction of obligations to third parties), in connection with a closed
 Transaction. Such "Aggregate Consideration" received from the counterparty is expected to be more
 completely defined in the purchase and sale agreement or other definitive agreement executed by
 the Company and the counterparty for a Transaction (the "Purchase and Sale Agreement"). The
 Parties agree that Aggregate Consideration shal l include all consideration paid or received at, or to be
 paid or received after closing, in connection with a Transaction, Including, without limitation (and
 without any duplication), cash, notes, securities, properties-related debt paid or assumed by the
 counterparty, reimbursement of capital expenditures, and other property received or to be
Case 9:19-bk-11573-MB            Doc 834 Filed 02/27/20 Entered 02/27/20 14:36:02                        Desc
                                 Main Document     Page 17 of 24




received by the Company; deferred non -contingent payments, such as installment payments;
contingent payments or amounts paid into escrow, which shal l be deemed paid or received only when
actually received by the Company.

                (d)        For the purpose of calculating the consideration received or receivable in
connection with a Transaction, noncash consideration shal l be valued as set forth in, or determined in
accordance with, the Purchase and Sale Agreement under which the Transaction is effected; except
that only to the extent that the value of non -cash consideration is not addressed in any such definitive
agreement, then any securities will be valued at the time of the closing of the Transaction (without
regard to any restrictions on transferability) as follows: (i) if such securities are traded on a stock
exchange, the securities wi l l be valued at the average last sale or closing price for the ten trading
d ays immediately prior to the closing of the Transaction; (ii) if such securities are traded primarily in
over-the-counter markets, the securities wi l l be valued at the mean of the closing bid and asked
q uotations similarly averaged over a ten trading day period immediately prior to the closing of the
Transaction; and (iii) if such securities have not been traded prior to the closing of the Transaction,
such securities shal l be valued at the fair market value thereof on the date of the closing of the
Transaction in question as determined in good faith by the Trustee.

                (e)       If UBS or its successor shall make a successful credit bid for all or
substantially al l the assets of the Company, or shall determine to recapitalize the Company as
d eclared by UBS and the Trustee, then Advisor shal l receive the Minimum Success Floor in full
satisfaction of al l claims hereunder.

         5.     Expenses. In addition to any Success Fees that may be payable to Advisor under
Section 4 above, subject to Bankruptcy Court approval of this Agreement, the Trustee agrees to
pay Advisor afully-earned and non-refundable upfront expense fee of $100,000 (one hundred
thousand dollars) to cover any expenses incurred by Advisor in connection with its engagement
h ereunder and payable in four monthly $25,000 installments beginning on the date of this
Agreement and continuing in four consecutive months. Such expenses shal l not exceed $100,000
i n the aggregate without the Trustee's prior written approval.

         6.         Termination of Engagement. The term of this Agreement shal l commence as of the
 d ate hereof and shal l terminate on December 31, 2020 ("Primary Term"), provided that the Trustee
 shall pay a Success Fee to Advisor in accordance with the provisions of Section 4 hereof for
 Transactions) entered into or consummated during the twelve-month (12) period following the
 Primary Term (the "Tail") with any person/entity contacted by Advisor or the Trustee, or any
 person/entity who contacted Advisor or the Trustee during the Primary Term of this Agreement,
 provided further that if the Advisor has been paid the Minimum Success Floor with respect to a credit
 bid or recapitalization then the term of this Agreement shall terminate immediately and there shall be
 no Tail. At the end of the Primary Term, Advisor shal l provide to the Company a list identifying any
 person/entity contacted by Advisor or the Trustee, or who contacted Advisor or the Trustee for the
 p urpose of faci l itating a Transaction within the scope of this Agreement. The provisions of Sections 3
 through 5 shall survive any termination of this Agreement.

         7.       Competing Clients. The Trustee recognizes and agrees that Advisor has in the past
 a nd can be expected in the future to provide services, including services substantially similar to the
 Facilitation Services, to third parties with respect to properties in the geographic vicinity of the
 Properties. Advisor agrees to disclose in writing al l such current efforts in the same geographic vicinity
 of the Properties and to obtain the Trustee's written consent of any such future proposed
 engagement.

         $.      Authority, No Breach. Each of the Parties represents and warrants to the other that
 its execution, delivery and performance of this Agreement have been duly and validly authorized
Case 9:19-bk-11573-MB                Doc 834 Filed 02/27/20 Entered 02/27/20 14:36:02                               Desc
                                     Main Document     Page 18 of 24




and do not and will not solely as a result of the passage of time constitute a breach under any
m aterial agreement or obligation to which the Company or the Properties are bound or subject;
provided that, in the case, of the Company, the effectiveness of this agreement is subject to the entry of an order
of the Bankruptcy Court approving the retention of Advisor, this Agreement and its terms.

         9.       Bankruptcy Approvals. The Trustee agrees that he will, at the Company's sole and exclusive cost
and expense, seek and obtain entry of a final, non-appealable order approving the retention of Advisor under the
terms and conditions of this Agreement (including, without limitation, approval of the Success Fee)from the
Bankruptcy Court pursuant to Sections 327(a) and 328(a) of the Bankruptcy Code. Such retention shall be prior to
the consummation of any Transaction. The Trustee shall seek authorization to compensate Advisor as provided in
this Agreement, subject to the procedures set forth in the Bankruptcy Code, the Bankruptcy Rules, the Local
Bankruptcy Rules, and any other applicable orders of this Court, but if possible,(a) Advisor shall be compensated
and reimbursed pursuant to Bankruptcy Code section 328(a) and such compensation not to be evaluated under
the standard set forth in Section 330 of the Bankruptcy Code, except as required by the Bankruptcy Court, and (b)
none of the fees payable to Advisor should constitute a "bonus" or fee enhancement under applicable law.

           10.       Bankruptcy Plan and/or Order Approving a Transaction. The Trustee shall include in any plan
and confirmation order of such plan proposed by the Trustee or that receives the support of the Trustee and/or
the Company in connection with a Chapter 11 proceeding, and use his best efforts to ensure confirmation and
entry of such plan and confirmation order, provisions whereby Advisor is treated as a "released party" and an
"exculpated party" thereunder to the extent that such parties receive, under such plan and confirmation order, the
benefits of any and all plan releases and injunctions, as well as the benefit of the following, or a substantially
similar, language to be included in an exculpation provision: "[e]xculpation. The Released Parties or shall have no
liability whatsoever to any holder or purported holder of an administrative claim, claim, or interest for any actor
omission in connection with, or arising out of, the formulation, negotiation, preparation, dissemination,
i mplementation, confirmation or consummation of the chapter 11 case, the plan, the disclosure statement, and
the other agreements or documents created or entered into, or any other action taken or omitted to betaken in
connection with or related to the Plan, the pursuit of approval of the disclosure statement or the solicitation of
votes for confirmation of the plan and the marketing, sale and/or disposition of assets during the pendency of the
chapter 11 case, except for willful misconduct or gross negligence as determined by a final order, and, in all
 respects, shall be entitled to rely upon the advice of counsel with respect to their duties and responsibilities under
the plan. This exculpation shall be in addition to, and not in limitation of, all other releases, indemnities,
exculpations and any other applicable law or rules protecting such released parties from liability." Moreover, any
order approving a Transaction shall similarly contain provisions whereby Advisor is afforded releases thereunder,
 i n addition to receiving the benefits of any and all plan releases and injunctions as required above.

         1 1.      Rejection of Agreement. In the event that the Agreement is subsequently rejected pursuant to
Section 365 of the Bankruptcy Code, subject to Bankruptcy Court approval of this Agreement, the Parties
stipulate that Advisor shall be entitled to full payment of each Success Fee as set forth in paragraph 4(b) above,
and that the Advisor shall be released from any further obligations under this Agreement.

         12.     Choice of Law,Jurisdiction and Venue. This Agreement has been negotiated, is being
executed in whole or in part and delivered, and will be performed in whole or in part, in the state of
California and the substantive laws of such state, without regard to conflicts of laws principles that
would require the application of any other law, shall govern the validity, construction, enforcement and
i nterpretation of this Agreement. The Parties hereby irrevocably submit to the non-exclusive
jurisdiction of the Bankruptcy Court in any action or proceeding arising out of or relating to this
Agreement and the Company hereby irrevocably agrees that all claims in respect of such action or
proceeding may be heard and determined in any such court and irrevocably waives any objection it
m ay now or hereafter have as to the venue of any such suit, action or proceeding brought in such a
court or that such court is an inconvenient forum.
Case 9:19-bk-11573-MB          Doc 834 Filed 02/27/20 Entered 02/27/20 14:36:02                        Desc
                               Main Document     Page 19 of 24




        13.      Assignment. The services to be rendered by Advisor hereunder are personal to the
Trustee. The Trustee may not assign any of its respective rights or obligations under this Agreement
without the prior written consent of Advisor, which consent may be withheld for any reason or no
reason. Advisor may not assign any of its respective rights or obligations under this Agreement
without the prior written consent of the Trustee, which consent may be withheld for any reason or no
reason. Subject to the preceding sentence, this Agreement will apply to, be binding in all respects
u pon, and inure to the benefit of the successors and permitted assigns of the Parties.

         14.      Amendments. This Agreement may not be amended or modified except by a written
a greement executed by the Parties and approved by the Bankruptcy Court, and specifically
referencing the provisions hereof to be so amended or modified.

        If the foregoing is in accordance with the Trustee's understanding, kindly confirm the
acceptance and agreement by signing and returning the enclosed duplicate of this letter, and it will
thereupon constitute a binding agreement between the undersigned parties. This Agreement is
i ntended to be executed in multiple counterparts and delivered by facsimile or electronic
transmission. When accepted, this Agreement shal l be deemed effective as of the date set forth
a bove.

 Very truly yours,

TenOaks Energy Partners, LLC




 ACCEPTED AND AGREED:

 HVI Cat Canyon, Inc.




 By: Michael McConnell
 Title: Trustee
Case 9:19-bk-11573-MB                                           Doc 834 Filed 02/27/20 Entered 02/27/20 14:36:02                                                                        Desc
                                                                Main Document     Page 20 of 24



                                                           EXHIBIT A
                                                 D ESCRI PTION O F P R O P E R T I E S


                                                                                                                                                                 )`

                                                                                                 r ,

                                                                         3~'                       rr1
          ~ ..                                                  ~._,      ~                           y _
                                                                                                     ,,,           .. , _._,
                 ^                                                 \                                    I                                                        / f \
                                                                                 dL
                     ',\ :,: ~,,,,                                                              North Belridge Fiefd
                                                                                                                                                                         ~)
                         ~                                                                               ~ ~,~i ~ ~~                                                      ;'
                 ~~~~r~~,ts.~y, ~
      ~                                   4.111 ~ .11l.
                                          i.~l,i.~,,~
                                                                                          ~
                                                                                          `
                                                                                              ~
                                                                                                                               ~—..~
                                                                                                                                        sx                 :~~                ~
          ~.                               ~ I'i.na~Rc.iah                                    I,di.:~                                    ~-..~-
                                                                         - 166                              166

                                                  Santa Maria.Val(ey F/eid
                                           .~ , ~.—Cat Canyon,Flefd                                                                          L~~i ~lp ~


           Casmalia Field                        ~,              \ ~~ `~•..Zaca Field .                                                      '.~~k.~:~°~
                                           i .,~,s'i ~,,.
                                                            ~                                           f'
                                                                                                                               _   _
                                                                   ~~                 ~       "~_       ~         ~ t26__-

                                        Capitar~ Freld           j~~ ~1
                                                   Rincon lsJand   ~,,,,.,                                                                                                        ~LL




                               N

                                G..—

    30               '10            0                                  d0
                                                                         Miles                                                         Richfield Field
    ti0              30         4                                 60
      Case 9:19-bk-11573-MB                   Doc 834 Filed 02/27/20 Entered 02/27/20 14:36:02                                       Desc
                                              Main Document     Page 21 of 24



                                     PROOF OF SERVICE OF DOCUMENT
 am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 1901
Avenue of the Stars, Suite 450, Los Angeles, CA 90067-6006.

A true and correct copy of the foregoing document entitled (specify): CHAPTER 11 TRUSTEE'S NOTICE OF
APPLICATION AND APPLICATION TO EMPLOY BUYNAK FAUVER ARCHIBALD &SPRAY LLP AS SPECIAL
ENVIRONMENTAL COUNSEL; AND STATEMENT OF DISINTERESTEDNESS will be served or was served (a) on the
judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General Orders
and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On February 27,
2020 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:



                                                                                       D Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL: On February 27, 2020, I served the following persons and/or entities at the last
known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes
a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

Debtor                                                                    Debtor
HVI Cat Canyon, Inc.                                                      HVI Cat Canyon, Inc.
c/o Capitol Corporate Services, Inc.                                      630 Fifth Avenue
36 S. 18th Avenue, Suite D                                                Suite 2410
Brighton, CO 80601                                                        New York, NY 10111


                                                                                       ❑ Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for
each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on February 27, 2020, I served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

Served by Personal Delivery to be delivered by February 28, 2020
The Honorable Martin R. Barash
U.S. Bankruptcy Court
21041 Burbank Boulevard, Bin on 1S' Floor outside entry to Intake Section
Woodland Hills, CA 91367
                                                                                       ❑ Service inf¢gl-mation contir}~ed~on attached page.

 declare under penalty of perjury under the laws of the United States that the foregoi                  s true and c



 February 27, 2020                        Vivian Servin
 Date                                     Printed Name                                          Signa




                                                                                                                             of California.
         This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District

June 2012                                                                                     F 9013-3.1.PROOF.SERVICE
       Case 9:19-bk-11573-MB                  Doc 834 Filed 02/27/20 Entered 02/27/20 14:36:02                                      Desc
                                              Main Document     Page 22 of 24
                                    ADDITIONAL SERVICE INFORMATION (if needed):


1. SERVED I3Y THE COURT VIA NOTICE OF ELECTRONIC FILING ("NEF"1


  •    William C Beall       will@beallandburkhardt.com, carissa@beallandburkhardt.com

  •    Alicia Clough      aclough@loeb.com, mnielson@loeb.com,ladocket@loeb.com

  •    Marc S Cohen        mscohen@loeb.com, klyles@loeb.com

  •    Alec S DiMario       alec.dimario@mhllp.com, debra.blondheim@mhllp.com;Syreeta.shoals@mhllp.com

  •    Karl J Fingerhood        karl.fingerhood@usdoj.gov, efile_ees.enrd@usdoj.gov

  •    H Alexander Fisch        Alex.Fisch@doj.ca.gov

  •    Don Fisher      dfisher@ptwww.com, tblack@ptwww.com

  •    Brian D Fittipaldi      brian.fittipaldi@usdoj.gov

  •    Gisele M Goetz       gmgoetz@hbsb.com, ggoetz@collegesoflaw.edu

  •    Karen L Grant        kgrant@silcom.com

  •    Ira S Greene      Ira.Greene@lockelord.com

  •    Matthew C. Heyn         Matthew.Heyn@doj.ca.gov, mcheyn@outlook.com

  •    Brian L Holman         b.holman@musickpeeler.com

  •    Eric P Israel     eisrael@dgdk.com, danninggill@gmail.com;eisrael@ecf.inforuptcy.com

  •    Razmig Izakelian        razmigizakelian@quinnemanuel.com

  •    Alan H Katz       akatz@lockelord.com

  •    John C Keith       john.keith@doj.ca.gov

   •   Jeannie Kim       jkim@friedmanspring.com

   •   Brian M Metcalf        bmetcalf@omm.com

   •   David L Osias dosias@allenmatkins.com,
       bcr~lings@allenmatkins.com,kdemorest@allenmatkins.com,csandoval@allenmatkins.com

   •   Darren L Patrick        dpatrick@omm.com, darren-patrick-1373@ecf.pacerpro.com

   •   Jeffrey N Pomerantz         jpomerantz@pszjlaw.com

   •   Todd C. Ringstad        becky@ringstadlaw.com, arlene@ringstadlaw.com

   •   Mitchell E Rishe       mitchell.rishe@doj.ca.gov

   •   Daniel A Solitro       dsolitro@lockelord.com, ataylor2@lockelord.com

   •   Ross Spencc rocs@snowspencelaw.com,
       janissherrill@snowspencelaw.com;donnasutton@snowspencelaw.com;brittanyDecoteau@snowspencelaw.com

   •   Christopher D Sullivan csullivan@diamondmccarthy.com,
       mdomer@diamondmccarthy.com;kmartinez@diamondmccarthy.com


       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California,

June 2012                                                                                   F 9013-3.1.PROOF.SERVICE
       Case 9:19-bk-11573-MB                   Doc 834 Filed 02/27/20 Entered 02/27/20 14:36:02                                       Desc
                                               Main Document     Page 23 of 24
   •   Jennifer Taylor       jtaylor@omm.com

   •   John N Tedford        jtedford@dgdk.com, danninggill@gmail.com;jtedford@ecf.inforuptcy.com

   •   Salina R Thomas         bankruptcy@co.kern.ca.us

   •   Patricia B Tomasco pattytomasco@quinnemanuel.com,
       barbarahowell@quinnemanuel.com;cristinagreen@quinnemanuel.com

   •    Fred Whitaker        lshertzer@cwlawyers.com

   •    William E. Winfield        wwinfield@calattys.com, scuevas@calattys.com

   •   Emily Young         pacerteam@gardencitygroup.com, rjacobs@ecf.epigsystems.com;ECFInbox@epigsystems.com

2. SERVED BY UNITED STATES MAIL:

20 LARGEST CREDITORS




 Santa Barbara County Treasurer-Tax              Allen Matkins Leck Gamble                          Diamond McCarthy LLP
 Collector                                       865 South Figueroa Street                          909 Fannin Street
 105 E. Anapamu St., Suite 109                   Suite 800                                          37th Floor Two Houston Center
 Santa Barbara, CA 93102                         Los Angeles, CA 90017-2543                         Houston, Texas 77010


                                                 Akin Gump Straus Hauer &Feld                        Santa Barbara County P&D
 Santa Barbara County-APCD                       1999 Avenue ofthe Stars
 260 NORTH SAN ANTONIO RD.,                                                                          123 East Anapamu Street
                                                 Suite 600                                           Santa Barbara, CA 93101
 SANTA BARBARA,CA 93110
                                                 Los Angeles, CA 90067


 W. J. Kenny Corp.                                                                                   Ann Jenny Schupp
 C/O Allfirst Bankcorp Trust do M&T              PG&E
                                                                                                     CIO M H Whittier Corp.
 Bank                                            77 Beale St
                                                                                                     1600 Huntington Drive
 One M&T Plaza                                   San Francisco, CA 94177
                                                                                                     South Pasadena, CA 91030
 Buffalo, NY 14203

                                                 J. P. Morgan-Chase                                  WEST COAST WELDING &
 William W. Jenny Jr.                            Attu: Michael Kemey
                                                                                                     CONSTR. I
 5101 East Camino Alisa                          450 West 33rd Street, 15th Floor                    2201 Celsius Avenue Suite B
 Tucson, AZ 85718                                Ref: 030057 Nassau Assoc-Saba
                                                                                                     Oxnard, CA 93030
                                                 New York, NY 10041


                                                                                                     Larsen O'Brien LLP
 Sherrill A, Schoepe                              Andrew Kurth LLP
                                                                                                     555 South Flower
 14974 Adams Dr.                                  600 Travis Suite 4200                              Suite 4400
 Pauma Valley, CA 92061                           Houston, TX 77002
                                                                                                     Los Angeles, CA 90071



 Victory Oil                                      California Department of Conservation              Diane T. Walker
 222 West 6th Street. Suite 1010                  801 K Street                                       748 Oceanville Road
 San Pedro, CA 90731                              Sacramento, CA 95814                               Stonington, ME 04681-9714




        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
June 2012                                                                                    F 9013-3.1.PROOF.SERVICE
       Case 9:19-bk-11573-MB                   Doc 834 Filed 02/27/20 Entered 02/27/20 14:36:02                                      Desc
                                               Main Document     Page 24 of 24

Stoner Family Trust                              Charles C. Albright Trustee
James G. Sanford Trustee                         X29 West 16th Street #B8
100 West Liberty Street. Suite 900               Costa Mesa, CA 92627
Reno, NV 89501


OFFICIAL COMMITTEE OF UNSECURED CREDITORS


                                                 Escolle Tenants in Common                          Pacific Petroleum California, Inc.
Brian Corson                                     215 N. Lincoln Street
2990 Lichen Place                                                                                   POB 2646
                                                 Santa Maria, CA 93458                              Santa Maria, CA 93457
Templeton, CA 93465                              Attu: Vincent T. Martinez


REQUESTS FOR SPECIAL NOTICE

                                                 Attorneys for Eller Family Trust
Attorneys for Buganko                            Cummins &White,LLP                                 William Winfield
Philip W. Ganong                                 Attn: Fred M. Whitaker, P.C.                       Nelson Comis Kettle &Kinney LLP
Ganong Law                                       Ashley Bolduc                                      300 e. Esplanade Drive, Suite 1170
930 Trustun Avenue, Suite 102                    2424 S.E. Bristol Street, Suite 300                Oxnard, CA 93036
Bakersfield, CA 93301                            Newport Beach, CA 92660


 Frank and Sylvia Boisseranc                     Rob Thomson
 300 W.Paseo de Cristobal                        1920 Wilbur Avenue
 San Clemente, CA 92672                          San Diego, CA 92109




        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

tune 20 2                                                                                    F 9013-3.1.PROOF.SERVICE
